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                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF LOUISIANA

   PRESS ROBINSON, EDGAR CAGE,
   DOROTHY NAIRNE, EDWIN RENE
   SOULE, ALICE WASHINGTON, CLEE
   EARNEST LOWE, DAVANTE LEWIS,
   MARTHA DAVIS, AMBROSE SIMS,
   NATIONAL ASSOCIATION FOR THE                      Civil Action No. 3:22-cv-00211-SDD-SDJ
   ADVANCEMENT OF COLORED PEOPLE
   (“NAACP”) LOUISIANA STATE
   CONFERENCE, AND POWER
   COALITION FOR EQUITY AND
   JUSTICE,
                        Plaintiffs,

                               v.

   NANCY LANDRY, in her official capacity
   as Secretary of State for Louisiana.

                                 Defendant.

   EDWARD GALMON, SR., CIARA HART,
   NORRIS HENDERSON, TRAMELLE
   HOWARD,
                       Plaintiffs,                   Civil Action No. 3:22-cv-00214-SDD-SDJ

                               v.

   NANCY LANDRY, in her official capacity
   as Secretary of State for Louisiana.

                                Defendant.



      NOTICE OF FILINGS RELATING TO ENACTED CONGRESSIONAL MAP

       The Robinson Plaintiffs (“Plaintiffs”), through undersigned counsel, hereby provide notice

to the Court of filings in the related case Callais v. Landry, No. 3:24-cv-122-DCJ-CES-RRS (W.D.

La.) (“Callais”).
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       First, consistent with Plaintiffs’ Motion to Apply the First-Filed Rule in Robinson,

ECF No. 345, on February 7, 2024, the Robinson Plaintiffs moved to intervene as defendants in

Callais and to transfer the case to this District for consolidation or coordination with Robinson.

See Ex. A. The Galmon Plaintiffs have likewise moved to intervene in Callais. See Ex. B.

       Second, on February 7, 2024, the Callais plaintiffs filed a Motion for Preliminary

Injunction requesting that the court (i) enjoin the defendant Secretary of State from implementing

the congressional redistricting map set out in SB8, and (ii) order the Secretary instead to implement

a congressional redistricting map proposed by the Callais plaintiffs to administer future elections.

See Ex. C at 1; Ex. D at 33. The alternative map the Callais plaintiffs ask the court to adopt

includes only a single majority-Black district, and includes no other districts in which Black voters

would have any opportunity to elect candidates of their choice. See Ex. E at 12 (showing BVAP

in the five majority-white districts ranging from 12.6% to 34.2%).

       Third, on February 8, 2024, the court in Callais entered a minute order instructing the

parties, once plaintiffs have served the defendant, to contact the court to request a scheduling

conference to determine a briefing schedule and hearing date for the pending motion by plaintiffs

for a preliminary injunction, the motion by the Robinson Plaintiffs to intervene and for transfer,

and the motion by the Galmon Plaintiffs to intervene. Callais, ECF No. 19. The Callais plaintiffs

served the defendant Secretary of State on February 8, 2024. Callais, ECF No. 21.




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DATED: February 9, 2024              Respectfully submitted,


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